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                      EXHIBIT 65
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1                 IN THE UNITED STATES DISTRICT COURT

2               FOR THE SOUTHERN DISTRICT OF NEW YORK

3

4      GOVERNMENT OF THE UNITED STATES
       VIRGIN ISLANDS,
5
                         Plaintiff,
6
                vs.                          No. 22-cv-10904-JSR
7
       JPMORGAN CHASE BANK, N.A.,
8
                      Defendant.
9      ________________________________

10     JPMORGAN CHASE BANK, N.A.,

11                Third-Party Plaintiff,

12     v.

13     JAMES EDWARD STALEY,
       Third-Party Defendant.
14     ________________________________

15                THE ORAL DEPOSITION OF SANDRA BESS was taken on

16     the 18th day of May, 2023 at the Ritz-Carlton Hotel,

17     6900 Great Bay, Nazareth, Charlotte Amalie, St. Thomas,

18     U.S. Virgin Islands, between the hours of 8:43 a.m. and

19     11:53 a.m. pursuant to Notice and Federal Rules of Civil

20     Procedure.

21                        ____________________
                              Reported by:
22
                            DESIREE D. HILL
23                     Registered Merit Reporter
                       Hill's Reporting Services
24                          P.O. Box 307501
                      St. Thomas, Virgin Islands
25                          (340) 714-0269
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1

2
                         A-P-P-E-A-R-A-N-C-E-S
3

4
       For Plaintiff:      Government of the VI
5
       Law Offices of MOTLEY RICE
6      401 9th St. NW. Ste 630
       Washington, DC 20004
7
       BY:   David I. Ackerman, Esq.
8

9      For Defendant:     JPMorgan Chase

10     Law Offices of WILMER CUTLER PICKERING HALE and DOOR,
       LLP
11     7 World Trade Center
       250 Greenwich Street
12     New York, NY 10007

13     BY:   Peter Neiman, Esq. & Sara Maldonado, Esq.

14

15     For Defendant:     James Edwards Staley

16     Law Offices of WILLIAM & CONNOLLY, LLP
       725 12th St NW,
17     Washington, DC 20005

18     BY:   Stephen L. Wohlgemuth, Esq.
             Jonathan (J.J.) Dunn, Esq.
19

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                                                                         15


1      done for the period.

2            Q.     I see.    So if there were a renewal coming

3      up and there was no recent compliance report, you

4      would prepare a summary of their compliance?

5                   MR. ACKERMAN:     Objection to form.

6            Q.     (By Mr. Neiman:) Is that fair?        You can

7      answer.

8            A.     Yes, sir.

9            Q.     All right.    Now, these compliance reports

10     that you prepare for a particular certificate holder,

11     how often would you put together a compliance report?

12           A.     A compliance report should be done

13     annually, but because the agency had some backlog as

14     we termed it, sometimes the report would take

15     probably three years before completion, five years

16     before completion, and sometimes you'd have one

17     that's done on an annual basis.

18           Q.     Would it be unusual for a company to not

19     get a compliance report until nine years after they

20     started as a certificate holder?        Would that be

21     unusual?

22           A.     It is -- should not be unusual 7but it

23     maybe has happened in one or two cases.

24           Q.     Okay.    So not the normal practice but might

25     have happened one or two times.
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                                                                         22


1            A.     From the annual report.

2            Q.     Okay.    So, you get the information provided

3      by the certificate holder?

4            A.     Yes, sir.

5            Q.     All right.    And what do you do to audit

6      whether the income information and tax information

7      provided by the certificate holder is accurate?

8                   MR. ACKERMAN:     Objection to form.

9                   THE WITNESS:     Excuse me one

10           second.    So we verify it.     So I look --

11           I would look at the presentation and

12           what was presented at the back and

13           ensure that the numbers total, and then

14           that's the information I would use.

15           Q.     (By Mr. Neiman:) Okay.       So, you would make

16     sure that what's in the cover sheet of the annual

17     report matches what the company has provided to you in

18     the support behind the cover sheet?

19           A.     Yes, sir.

20           Q.     And would you look at any third-party

21     sources or just the information the company provided

22     in terms of verifying their income and the tax

23     benefit?

24           A.     Only if it's unclear, and I would need to

25     veri -- go a little further to clarify the
     Case 1:22-cv-10904-JSR Document 186-37 Filed 06/14/23 Page 6 of 8

                                                                         23


1      information provided.

2            Q.     Okay.    But as long as what was provided

3      appear to support the numbers on the cover sheet, that

4      will be the end of your analysis?

5                   MR. ACKERMAN:     Object to form.

6            Vague.

7                   THE WITNESS:     Typically, it would

8            be.

9            Q.     (By Mr. Neiman:)     Okay.    Now, is any part

10     of your job as a compliance officer reviewing the

11     character of the people who are the owners of the

12     companies receiving tax benefits?

13           A.     No, sir.

14           Q.     Is there anybody at the Economic

15     Development Authority who has that responsibility?

16           A.     To the best of my knowledge, that would

17     come prior to -- I -- to me receiving the certificate

18     as a compliance officer, it would usually come from

19     the application side -- application division.

20           Q.     Okay.    And what if -- withdrawn.

21                  Is there anything that is done to see if

22     any character issues have arisen since the

23     application process?

24           A.     None that I know of.

25           Q.     Now, are you familiar with a person named
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                                                                         36


1            Q.     Okay. Did you do any unannounced visits to

2      the Financial Trust Company as best as you can recall?

3            A.     As best as I can recall, I probably would

4      have done one or two.

5            Q.     Okay.    Tell me about the one or two

6      unannounced visits that you recall.

7            A.     Nothing that I can specifically recall,

8      but I would show up at the door, identify myself, and

9      then ask to see the compliance person -- the person

10     that I relayed to, speak to on the email, on the

11     phone, or anyone else if that person is not there.

12           Q.     Who was the person or people at the

13     Financial Trust Company that you dealt with?

14           A.     Cecile de Jongh.

15           Q.     Okay.    And who is Cecile de Jongh?

16           A.     The office manager at the Financial Trust

17     and Southern Trust.

18           Q.     And during the time that you were

19     interacting with her as a compliance officer, was she

20     also the First Lady of the Virgin Islands?

21           A.     Yes, sir.

22           Q.     So, her husband was the governor?

23           A.     Yes, sir.

24           Q.     Okay.    Did the fact that she was married to

25     the governor affect how you interacted with her in any
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                             CERTIFICATE                             118


1                        C-E-R-T-I-F-I-C-A-T-E

2

3            I, DESIREE D. HILL, a Registered Merit Reporter

4      and Notary Public for the U.S. Virgin Islands, Charlotte

5      Amalie, St. Thomas, do hereby certify that the above and

6      named witness, SANDRA BESS, was first duly sworn to

7      testify the truth; that said witness did thereupon

8      testify as is set forth; that the answers of said

9      witness to the oral interrogatories propounded by

10     counsel were taken by me in Stenotype and thereafter

11     reduced to typewriting under my personal direction and

12     supervision.

13           I further certify that the facts stated in the

14     caption hereto are true; and that all of the proceedings

15     in the course of the hearing of said deposition are

16     correctly and accurately set forth herein.

17           I further certify that I am not counsel, attorney

18     or relative of either party, nor financially or

19     otherwise interested in the event of this suit.

20           IN WITNESS WHEREOF, I have hereunto set my hand as

21     such Certified Court Reporter on this the 17th day of

22     June, 2023, at Charlotte Amalie, St. Thomas, United

23     States Virgin Islands.

24                                  _______________________________

25                                  Desiree D. Hill, RMR
